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                               Nebraska Supreme Court Advance Sheets
                                        312 Nebraska Reports
                                                   STATE V. CERROS
                                                   Cite as 312 Neb. 230



                                        State of Nebraska, appellee, v.
                                          Joel A. Cerros, appellant.
                                                     ___ N.W.2d ___

                                          Filed August 12, 2022.   No. S-21-527.

                 1. Rules of Evidence. In proceedings where the Nebraska Evidence Rules
                    apply, the admissibility of evidence is controlled by the Nebraska
                    Evidence Rules and judicial discretion is involved only when the rules
                    make discretion a factor in determining admissibility.
                 2. Rules of Evidence: Appeal and Error. Where the Nebraska Evidence
                    Rules commit the evidentiary question at issue to the discretion of the
                    trial court, an appellate court reviews the admissibility of evidence for
                    an abuse of discretion.
                 3. Evidence: Appeal and Error. A trial court has the discretion to deter-
                    mine the relevancy and admissibility of evidence, and such determina-
                    tions will not be disturbed on appeal unless they constitute an abuse of
                    that discretion.
                 4. Convictions: Evidence: Appeal and Error. Regardless of whether
                    the evidence is direct, circumstantial, or a combination thereof, and
                    regardless of whether the issue is labeled as a failure to direct a verdict,
                    insufficiency of the evidence, or failure to prove a prima facie case, the
                    standard is the same: In reviewing a criminal conviction, an appellate
                    court does not resolve conflicts in the evidence, pass on the credibility
                    of witnesses, or reweigh the evidence; such matters are for the finder
                    of fact, and a conviction will be affirmed, in the absence of prejudicial
                    error, if the evidence admitted at trial, viewed and construed most favor-
                    ably to the State, is sufficient to support the conviction.
                 5. Jury Instructions. Whether jury instructions given by a trial court are
                    correct is a question of law.
                 6. Judgments: Appeal and Error. On a question of law, an appellate court
                    is obligated to reach a conclusion independent of the determination
                    reached by the court below.
                 7. Witnesses: Trial. A witness may not give an opinion as to a defendant’s
                    guilt or how the case should be decided, but, rather, must leave the
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           Nebraska Supreme Court Advance Sheets
                    312 Nebraska Reports
                             STATE V. CERROS
                             Cite as 312 Neb. 230
    conclusions to be drawn by the trier of fact, because such opinions are
    not helpful.
 8. Convictions: Intent. Reckless driving is not a mere traffic infraction
    or public welfare offense; it requires the necessary mens rea to be the
    unlawful act to support a conviction for manslaughter.
 9. Lesser-Included Offenses: Jury Instructions: Evidence. A court must
    instruct on a lesser-included offense if (1) the elements of the lesser
    offense for which an instruction is requested are such that one cannot
    commit the greater offense without simultaneously committing the lesser
    offense and (2) the evidence produces a rational basis for acquitting the
    defendant of the greater offense and convicting the defendant of the
    lesser offense.
10. Homicide: Lesser-Included Offenses: Jury Instructions. Where mur-
    der is charged, a court is required to instruct on lesser degrees of homi-
    cide where appropriate, but in other circumstances, a court must instruct
    on a lesser-included offense only if requested to do so, and failure to
    instruct on a lesser-included offense cannot be considered error if the
    defendant did not request the instruction.

  Appeal from the District Court for Butler County: Robert
R. Steinke, Judge. Affirmed.

  Robert W. Kortus, of Nebraska Commission on Public
Advocacy, for appellant.

   Douglas J. Peterson, Attorney General, and Nathan A. Liss
for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

    Miller-Lerman, J.
                      NATURE OF CASE
    Joel A. Cerros appeals his conviction in the district court
for Butler County for manslaughter, with reckless driving as
the predicate unlawful act. Cerros claims that the district court
erred when it allowed a law enforcement officer to testify
that driving on the wrong side of the road could be a sign of
­reckless driving. Cerros also claims that there was insufficient
 evidence to support his conviction for manslaughter and, for
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
the first time on appeal, claims that the district court erred
when it failed to instruct the jury on careless driving as a
lesser-included offense. We affirm Cerros’ conviction.
                    STATEMENT OF FACTS
   On June 20, 2020, Cerros was involved in a traffic accident
on U.S. Highway 81 south of Columbus, Nebraska. The car
driven by Cerros was traveling south and was heading in the
wrong direction (wrong lane) when it collided with a motorcy-
cle traveling north. The motorcyclist died as a result of injuries
sustained in the collision.
   The State theorized that Cerros was under the influence
of marijuana at the time of the accident. The State therefore
charged Cerros with (1) motor vehicle homicide with driving
under the influence (DUI) as the predicate violation of law,
(2) DUI, (3) manslaughter with reckless driving as the predi-
cate unlawful act, and (4) possession of drug paraphernalia.
Cerros pled no contest to the possession charge and went to
trial by jury on the remaining counts. The jury acquitted Cerros
of DUI and motor vehicle homicide but found him guilty of
manslaughter. Given the homicide based on DUI acquittal, our
analysis on appeal is focused on manslaughter.
   The evidence at trial included testimony by witnesses,
including other motorists who arrived at the scene shortly after
the accident as well as rescue and law enforcement personnel
who later arrived at the scene. Relevant to the charge of man-
slaughter based on reckless driving, various witnesses testi-
fied that Cerros’ car was in the wrong lane. For example, one
rescue worker testified that the car “was facing south, but was
in the northbound lane . . . in the shoulder area” and that the
“motorcycle was directly in front of the vehicle.”
   The State presented testimony by an accident reconstruc-
tionist who testified regarding his investigation of the accident
in this case. He stated in his report that “Cerros was driving
southbound on Highway 81,” that “Cerros crossed into the
northbound lanes of travel,” and that the northbound motor-
cycle collided with the southbound vehicle driven by Cerros.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
He concluded that the “actions of . . . Cerros resulted in the
death” of the motorcyclist.
   The State also elicited testimony regarding the DUI and
motor vehicle homicide charges, including observations of wit-
nesses regarding Cerros’ condition shortly after the accident.
Among the witnesses the State questioned in this regard was
Devin Betzen, a sheriff’s deputy who was dispatched to the
scene of the accident. During initial general questioning of
Betzen regarding his experience in law enforcement, the State
asked Betzen, “[W]hat do you look for in determining signs
of impairment, just in general cases?” Betzen responded by
listing physical signs such as bloodshot, watery eyes, slurred
speech, slow deliberate movement, and poor finger-to-thumb
dexterity. The State then asked, “What about driving habits?”
Betzen responded by listing actions such as speeding, driving
on the shoulder of the road, and crossing centerlines. The State
suggested, “Driving the wrong way . . . down a highway?” and
Betzen responded in the affirmative.
   During cross-examination of Betzen, Cerros elicited testi-
mony related to his defense theory that at the time of the col-
lision, he had crossed the centerline because he was preparing
to turn left onto a county road that was a short distance ahead.
Betzen testified that Cerros’ parents’ house was approximately
4 miles from the site of the accident and that in order to go
to their house, Cerros would have had to have turned left
onto a county road that was approximately 15 to 20 feet south
past the site of the collision. At the end of cross-examination,
Betzen agreed that in the report he prepared after his inves-
tigation, he did not state that Cerros had shown any signs of
impairment or that he had “found any signs of impairment by
his driving.”
   The State then began its redirect of Betzen with this
exchange: “[State:] Deputy Betzen, driving on the wrong
side of the road could be a sign of impairment; is that cor-
rect? [Betzen:] That’s correct. [State:] Could be a sign of
reckless driving; is that correct? [Betzen:] That’s correct.”
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                       STATE V. CERROS
                       Cite as 312 Neb. 230
Cerros objected on the basis that the State’s question “[c]alls
for an answer that the jury has to decide. Ultimate issue, Your
Honor.” The court overruled Cerros’ objection, and it stated,
“And the answer was ‘that’s correct.’ And the question was ‘it
could be a sign.’ All right.” The State then continued with a
different line of questioning.
   Other evidence presented by the State included testimony
by emergency personnel that the motorcyclist had died at the
scene of the accident. The State also presented testimony by
the pathologist who conducted the autopsy on the motorcyclist.
The pathologist testified that the motorcyclist had sustained
various injuries, including injuries to the head, chest, and
abdomen. The pathologist opined that the cause of death was
blunt force trauma to the head, chest, and abdomen and that
such injuries were consistent with the motorcycle having col-
lided with the automobile.
   Cerros moved for a directed verdict at the close of the
State’s evidence. The district court overruled the motion and
made certain remarks with regard to the manslaughter charge.
The court noted that manslaughter was charged with reckless
driving as the predicate unlawful act. The court stated that
reckless driving was a misdemeanor offense and not a traffic
infraction or a public welfare offense. The court stated that
evidence offered by the State showed that Cerros “was operat-
ing his motor vehicle over a period of time and through a term
of space completely in the wrong lane of a major U.S. high-
way,” and the court determined that “[s]uch evidence viewed
most favorably to the State would establish that the unlawful
act of reckless driving was done voluntarily and intention-
ally and was not the result of mistake, accident or momen-
tary inattention.”
   In his defense, Cerros presented evidence including tes-
timony by an expert in pharmacology and toxicology who
generally testified regarding studies that showed no increased
risk of crashes for drivers who had used marijuana. He also
testified that he had viewed videos of Cerros taken at the
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
scene of the accident, on the ride to the hospital, and at the
hospital, and he opined that he did not see any indicators that
Cerros was under the influence of marijuana at that time.
Cerros also presented testimony by his mother, his father, and
his sister to the effect that on the evening of June 20, 2020,
Cerros’ parents were hosting a family gathering at their house
north of Rising City, Nebraska, and that they were awaiting
Cerros’ arrival.
   At the jury instruction conference, the court presented its
proposed instructions. With respect to manslaughter, the ele-
ments instruction, instruction No. 3, given by the court, pro-
vided that
      the elements of the State’s case are:
         1. That the defendant, . . . Cerros, caused the death of
      [the motorcyclist];
         2. That the defendant did so while operating a motor
      vehicle upon the public streets or highways of the State
      of Nebraska;
         3. That the defendant did so unintentionally while in
      the commission of an unlawful act, to-wit: reckless driv-
      ing as defined in Instruction No. 4; and
         4. That the defendant did so on or about June 20, 2020,
      in Butler County, Nebraska.
Instruction No. 4 provided:
         The material elements of reckless driving are:
         On or about June 20, 2020, in Butler County, Nebraska,
      the defendant, . . . Cerros, drove a motor vehicle upon the
      streets or highways of the State of Nebraska in such a
      manner as to indicate an indifferent or wanton disregard
      for the safety of persons or property.
Instruction No. 6 included definitions of various terms and
defined “reckless” as “the disregard for or indifference to
the safety of another or for the consequences of one’s act.
‘Wanton’ and ‘reckless’ are treated synonymously.” The court
asked the parties whether they had objections to its proposed
instructions, and the State had no objections.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
   Cerros, however, raised objections to the court’s instruc-
tions and proposed certain instructions of his own. Cerros first
raised objections with regard to the instructions for motor vehi-
cle homicide, and the court overruled his objections. Cerros
then turned to the instructions on the charge of manslaughter.
Cerros first stated that he asked that the predicate unlawful act
for manslaughter should “be for willful reckless driving . . .
instead of reckless driving” and that the court “give the defi-
nition for willful reckless driving.” Cerros next stated that he
was “asking for the lesser included offense of reckless driving
under [Neb. Rev. Stat. §] 60-6,212 or 60-6,213 because the
jury theoretically could find there was no proximate cause, but
he was reckless driving or willful reckless driving.”
   Cerros also requested two additional instructions that he
asserted were based on State v. Carman, 292 Neb. 207, 872
N.W.2d 559 (2015). Cerros’ first proposed instruction stated:
“‘Traffic infractions are public welfare offenses which do not
require a showing of criminal intent and therefore, are insuf-
ficient by themselves to support a conviction for unlawful
act manslaughter or involuntary manslaughter.’” His second
proposed instruction stated: “‘Criminal intent is required to
support a conviction for unlawful act manslaughter or invol-
untary manslaughter under this Count.’” Cerros asserted that
the two instructions were necessary “to make it clear to the
jury that he has to have criminal intent and that traffic infrac-
tions do not qualify, because the jury could easily find that
there was a traffic infraction at this point, he was negligent,
but not reckless.”
   The court overruled Cerros’ objections and rejected his
proposed instructions. The court stated that “reckless driv-
ing is not a public welfare offense and not a mere traffic
infraction, and it has sufficient mens rea such that it can be
the underlying unlawful offense for a manslaughter charge.”
Regarding Cerros’ request to instruct the jury that criminal
intent is required to support a conviction for manslaughter, the
court noted that it would instruct the jury on the elements of
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
                         STATE V. CERROS
                         Cite as 312 Neb. 230
reckless driving and provide a definition of “reckless” and that
those instructions would set forth “the mens rea that would
be required.” The court stated that Cerros could argue the
absence of the required mens rea for reckless driving during
his closing argument.
    In his closing argument, Cerros first focused on the charges
of motor vehicle homicide and DUI. He then turned to the
charge of manslaughter. Cerros argued, inter alia, that if the
jurors thought that “he was driving negligently or carelessly
. . . he is not guilty of driving recklessly causing [the motorcy-
clist’s] death.” Cerros then argued that his driving might have
been negligent or careless but not reckless, and he asserted that
he was “going into that left lane to turn at the first turnoff” and
misjudged how close the oncoming headlights of the motor-
cycle were.
    After closing arguments, the court gave its jury instructions
and submitted the case to the jury. During deliberations, the
jury submitted a written question to the court which asked,
“What is the definition of negl[i]gent driving?” After discus-
sion with counsel, the court responded by telling the jury that
it was to make its determinations based on the evidence and the
instructions that had been given.
    The jury acquitted Cerros of motor vehicle homicide and
DUI, but it found him guilty of manslaughter based on reckless
driving. The court thereafter sentenced Cerros to imprisonment
for 8 to 12 years for the manslaughter conviction.
    Cerros appeals his conviction for manslaughter.

                   ASSIGNMENTS OF ERROR
   Cerros claims that the district court erred when it allowed
Betzen’s testimony that driving on the wrong side of the road
could be a sign of reckless driving. Cerros also claims that
there was insufficient evidence to support his conviction for
manslaughter. Cerros finally claims for the first time on appeal
that the district court erred when it did not instruct on careless
driving as a lesser-included offense.
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
                         STATE V. CERROS
                         Cite as 312 Neb. 230
                   STANDARDS OF REVIEW
   [1-3] In proceedings where the Nebraska Evidence Rules
apply, the admissibility of evidence is controlled by the
Nebraska Evidence Rules and judicial discretion is involved
only when the rules make discretion a factor in determining
admissibility. State v. Wood, 310 Neb. 391, 966 N.W.2d 825(2021). Where the Nebraska Evidence Rules commit the evi-
dentiary question at issue to the discretion of the trial court,
an appellate court reviews the admissibility of evidence for
an abuse of discretion. Id. A trial court has the discretion to
determine the relevancy and admissibility of evidence, and
such determinations will not be disturbed on appeal unless they
constitute an abuse of that discretion. State v. Rocha, 295 Neb.
716, 890 N.W.2d 178 (2017).
   [4] Regardless of whether the evidence is direct, circumstan-
tial, or a combination thereof, and regardless of whether the
issue is labeled as a failure to direct a verdict, insufficiency of
the evidence, or failure to prove a prima facie case, the stan-
dard is the same: In reviewing a criminal conviction, an appel-
late court does not resolve conflicts in the evidence, pass on
the credibility of witnesses, or reweigh the evidence; such mat-
ters are for the finder of fact, and a conviction will be affirmed,
in the absence of prejudicial error, if the evidence admitted at
trial, viewed and construed most favorably to the State, is suf-
ficient to support the conviction. State v. Pauly, 311 Neb. 418,
972 N.W.2d 907 (2022).
   [5,6] Whether jury instructions given by a trial court are
correct is a question of law. Id. On a question of law, an appel-
late court is obligated to reach a conclusion independent of the
determination reached by the court below. Id.                         ANALYSIS
District Court Did Not Err When It Allowed
Betzen’s Testimony Regarding Driving
on the Wrong Side of the Road.
   Cerros first claims that the district court erred when it
allowed Betzen’s testimony to the effect that driving on the
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
wrong side of the road could be a sign of reckless driving.
Cerros argues that Betzen’s testimony constituted an impermis-
sible opinion as to Cerros’ guilt on a key element of the man-
slaughter charge in this case. Because Betzen did not express
an opinion regarding Cerros’ guilt, we conclude that the district
court did not err when it allowed the testimony.
   [7] Cerros cites State v. Rocha, 295 Neb. at 733, 890
N.W.2d at 194, in which we held that under Nebraska’s rules
of evidence, including Neb. Evid. R. 701 and 702, Neb. Rev.
Stat. §§ 27-701 and 27-702 (Reissue 2016), regarding opinion
testimony, and Neb. Evid. R. 403, Neb. Rev. Stat. § 27-403(Reissue 2016), regarding relevancy and unfair prejudice, “a
witness may not give an opinion as to a defendant’s guilt or
how the case should be decided, but, rather, must leave the
conclusions to be drawn by the trier of fact, because such
opinions are not helpful.” We reasoned that such determina-
tions are within the province of the trier of fact and that tes-
timony that usurps the role of the trier of fact is not helpful
and thus is improper opinion testimony under rules 701 and
702. We further reasoned that the risk of unfair prejudice is
heightened when such an opinion is given by a law enforce-
ment officer.
   When it overruled Cerros’ objection to Betzen’s testimony,
the district court emphasized that the question was whether
driving on the wrong side “[c]ould be” a sign of impaired
driving or reckless driving and that Betzen merely answered,
“That’s correct.” We read the court’s comment to indicate
that the court did not think that Betzen’s answer constituted
an opinion as to Cerros’ guilt. We agree with that reasoning.
Considered in the context of earlier questioning, it appears
that the State was asking about the sorts of actions or obser-
vations that would lead Betzen to suspect impaired driving
or reckless driving as a general matter. The State did not ask
for, and Betzen did not give, an opinion as to whether Cerros’
actions in this case established that Cerros was guilty of reck-
less driving.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
   Under the rules of evidence, it was within the court’s dis-
cretion to determine whether Betzen’s testimony was relevant
and whether it resulted in unfair prejudice to Cerros. Because
Betzen agreed only in response to an isolated question that as
a general matter, driving on the wrong side could be a sign
of reckless driving, he did not provide an explicit opinion
regarding whether Cerros was guilty of reckless driving. The
testimony did not invade the jury’s province to make that
determination based on all the evidence presented and the law
as instructed. We therefore conclude that the district court did
not abuse its discretion when it allowed Betzen’s testimony
that driving on the wrong side of the road could be a sign of
reckless driving.

There Was Sufficient Evidence to Support
Cerros’ Manslaughter Conviction.
   Cerros next claims that there was not sufficient evidence
to support his conviction for manslaughter. He argues that the
evidence does not show reckless driving, because at most, it
showed a traffic infraction that would not support a conviction
for manslaughter. We conclude that the evidence was sufficient
to support Cerros’ conviction.
   Cerros was convicted of manslaughter under Neb. Rev. Stat.
§ 28-305 (Reissue 2016), which provides in part that “[a] per-
son commits manslaughter if he or she kills another without
malice upon a sudden quarrel or causes the death of another
unintentionally while in the commission of an unlawful act.” In
this case, Cerros was charged with manslaughter of the second
type, that is, having “cause[d] the death of another unintention-
ally while in the commission of an unlawful act.” The predicate
unlawful act was reckless driving as set forth in Neb. Rev. Stat.
§ 60-6,213 (Reissue 2021), which provides that “[a]ny person
who drives any motor vehicle in such a manner as to indicate
an indifferent or wanton disregard for the safety of persons
or property shall be guilty of reckless driving.” Neb. Rev.
Stat. § 60-6,215 (Reissue 2021) provides that “[e]very person
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
convicted of reckless driving shall, upon a first conviction, be
guilty of a Class III misdemeanor.”
   Cerros’ argument relies on State v. Carman, 292 Neb. 207,
216, 872 N.W.2d 559, 565 (2015), in which we held that
“public welfare offenses such as traffic infractions which do
not contain the element of criminal intent cannot support
convictions for manslaughter.” We further stated in Carman
that “momentary inattentiveness and minor traffic violations
do not involve the culpability or mens rea required to convict
one of felony manslaughter.” 292 Neb. at 218, 872 N.W.2d at
567. The defendant in Carman was convicted of manslaughter
based on traffic offenses of following too closely and driving
too fast for the conditions. We concluded that these traffic
offenses were public welfare offenses that did not establish the
required element of mens rea, and we therefore reversed the
defendant’s conviction. Cerros argues that in this case, there
was not sufficient evidence of the predicate act of reckless
driving to support his conviction for manslaughter, because the
evidence did not show he possessed the required mens rea for
reckless driving, and that at best, it showed he had committed
public welfare offenses involving momentary inattentiveness
and minor traffic violations.
   [8] We note that in Carman, we stated that in prior cases
in which we had upheld manslaughter convictions based on
offenses committed while driving, such cases “involved more
than mere traffic infractions, which have no mens rea” and
those convictions “almost invariably involved driving while
intoxicated, driving recklessly, or both.” 292 Neb. at 224, 872
N.W.2d at 570 (emphasis supplied). We stated that “[t]hese
actions would establish that the unlawful act was done volun-
tarily and intentionally and was not the result of mistake, acci-
dent, or momentary inattention.” Id. We made clear in Carman
that reckless driving was not a mere traffic infraction or public
welfare offense and that it required the necessary mens rea to
be the unlawful act to support a conviction for manslaughter.
We therefore reject any argument that reckless driving could
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
not support Cerros’ conviction for manslaughter. Our precedent
is consistent with this conclusion.
   We read Cerros to argue that, in any event, the evidence in
this case does not support a finding that he committed reckless
driving and instead that it showed at most that he was driving
negligently. He contends that such negligence indicated a traf-
fic infraction that was short of reckless driving and that, under
Carman, would not support a conviction for manslaughter.
   The State charged manslaughter based on reckless driving as
the unlawful act. The court’s jury instruction setting forth the
elements of manslaughter stated, inter alia, that the jury must
find that Cerros caused the death of the motorcyclist while in
the commission of the unlawful act of reckless driving, and
a separate instruction set forth the elements of reckless driv-
ing as being that Cerros drove a vehicle “in such a manner as
to indicate an indifferent or wanton disregard for the safety
of persons or property.” The instruction therefore tracked the
statute defining reckless driving and included the mens rea we
found sufficient in Carman.
   With respect to the evidence, there was sufficient evidence
that the motorcyclist’s death was caused by the collision,
and Cerros does not argue that there was not sufficient evi-
dence to show that element of manslaughter. The evidence
of reckless driving was that Cerros was driving on the wrong
side of the highway and was 5 to 6 feet over the centerline
at the time of the collision. The evidence also indicated a
lack of skid marks, and the accident reconstructionist opined
that Cerros had not taken reactive or corrective measures to
avoid the collision. From this evidence, the jury could have
determined that Cerros was not maintaining a proper lookout
for an oncoming motorcycle as he drove in the wrong lane.
The jury could reasonably have concluded that this evidence
showed Cerros was operating the vehicle in such a manner as
to indicate an indifferent or wanton disregard for the safety of
persons or property and that therefore, he was committing the
unlawful act of reckless driving. The jury had all the evidence
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                       STATE V. CERROS
                       Cite as 312 Neb. 230
before it and was given a proper definition of reckless driv-
ing. A rational finder of fact could conclude Cerros committed
reckless driving.
   Cerros argues that his actions did not amount to reckless
driving but instead were merely negligent or the result of
momentary inattention. He presented evidence in his defense
from which he argued that he was on the wrong side of the
highway because he was preparing to turn left onto a county
road. The jury could have considered the evidence Cerros
presented in his defense and found that his driving did not
meet the standard of “indifferent or wanton disregard” that
was necessary to establish reckless driving. However, it is
also reasonable that the jury could have rejected such evidence
or that it could have found that even if his proffered reason
was the true reason he was driving on the wrong side of the
highway, that reason did not excuse his choice to drive on
the wrong side of the highway and that doing so and failing
to look out for oncoming traffic indicated an indifferent or
wanton disregard for any motorist who might be driving from
the opposite direction. Therefore, the jury could properly have
considered the evidence presented by both parties and found
reckless driving.
   There was sufficient evidence to support Cerros’ conviction
for manslaughter, and we reject this assignment of error.

District Court Did Not Err When It Failed
to Instruct on Careless Driving as a
Lesser-Included Offense.
   Cerros finally claims that the district court erred when
it failed to instruct the jury on careless driving as a lesser-
included offense. He argues that the evidence supported a
finding that he was guilty of careless, but not reckless, driv-
ing. Cerros reasons that because careless driving cannot be
the predicate unlawful act for manslaughter, the jury could
have acquitted him of manslaughter and convicted him of the
lesser offense of careless driving. We conclude that Cerros
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
did not explicitly request and did not offer a proposed lesser-
included offense instruction based on careless driving and that
therefore, the district court did not err when it did not give
such an instruction.
   [9,10] With regard to lesser-included offense instructions,
we have said that a court must instruct on a lesser-included
offense if (1) the elements of the lesser offense for which an
instruction is requested are such that one cannot commit the
greater offense without simultaneously committing the lesser
offense and (2) the evidence produces a rational basis for
acquitting the defendant of the greater offense and convicting
the defend­ant of the lesser offense. State v. Wood, 310 Neb.
391, 966 N.W.2d 825 (2021) (emphasis supplied). Specifically,
with respect to lesser-included offense instructions, we have
stated that in cases where murder is charged, a court is required
to instruct on lesser degrees of homicide where appropriate,
but in other circumstances, a court must instruct on a lesser-
included offense only if requested to do so and that failure
to instruct on a lesser-included offense “cannot be considered
error if the defendant did not request the instruction.” State v.
Smith, 284 Neb. 636, 651, 822 N.W.2d 401, 413 (2012).
   The issue as framed by Cerros on appeal regarding a
lesser-included offense instruction is at odds with the record
at trial and injects some confusion; thus, we clarify what the
record shows. At the jury instruction conference and else-
where, Cerros verbally asked the district court to instruct that
reckless driving was a lesser-included offense even though
Cerros was not charged with reckless driving and reckless
driving served only as a predicate element of manslaughter.
Cerros did not ask verbally or in writing that the jury be
instructed that careless driving was a lesser-included offense
of any charged crime.
   At the jury instruction conference in this case, Cerros raised
objections to the court’s proposed instructions and offered
certain proposed instructions of his own. With regard to the
charge of manslaughter, Cerros argued that the predicate
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                        STATE V. CERROS
                        Cite as 312 Neb. 230
unlawful act should be willful reckless driving, an offense
set forth in Neb. Rev. Stat. § 60-6,214 (Reissue 2021), rather
than reckless driving, an offense set forth in § 60-6,213. The
district court rejected this argument on the basis that reckless
driving “has sufficient mens rea such that it can be the under-
lying unlawful offense for a manslaughter charge.” Cerros
specifically stated that he was “asking for the lesser included
offense of reckless driving.” The district court did not specifi-
cally address this request, but it overruled Cerros’ objections
and did not give a lesser-included offense instruction on reck-
less driving. Cerros does not claim on appeal that the district
court erred when it refused a lesser-included offense instruc-
tion on reckless driving. Instead, he claims the court erred
when it did not give a lesser-included offense instruction on
careless driving. Cerros cites State v. Howard, 253 Neb. 523,
571 N.W.2d 308 (1997), for the proposition that careless driv-
ing is a lesser-included offense of reckless driving. He argues
that there was evidence from which the jury could have deter-
mined that he drove carelessly but not recklessly. It is not
clear from Cerros’ arguments whether he asserts that the court
should have instructed on careless driving as a direct lesser-
included offense of manslaughter or whether there should
have been a step instruction wherein reckless driving served
as the lesser-included offense of manslaughter (based on reck-
less driving) and thence careless driving served as the lesser-
included offense of reckless driving. We need not resolve this
issue, because despite his contentions to the contrary, Cerros
did not request an instruction on careless driving and thus has
not preserved this issue for appeal.
   Cerros’ comments at the jury instruction conference focused
first on his argument that the underlying offense should be
willful reckless driving. He also verbally requested a lesser-
included offense instruction, but he identified the lesser offense
as “reckless driving under 60-6,212 or 60-6,213” and argued
that “the jury theoretically could find there was no proximate
cause, but he was reckless driving or willful reckless driving.”
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
He did not state that he was requesting a lesser-included
offense instruction on “careless driving.”
   Nevertheless, Cerros argues on appeal that he was asking
for an instruction on careless driving. Cerros concedes that
he did not speak with clarity at the jury instruction confer-
ence and elsewhere, but argues that it was evident that he was
referring to careless driving. We disagree. Cerros’ comments
at the jury instruction conference referred only to “reckless
driving” or “willful reckless driving,” and he did not explic-
itly refer to “careless driving.” The reference to “60-6,212 or
60-6,213” was ambiguous at best and was not a clear reference
to careless driving. Instead, we read the comment as suggest-
ing uncertainty as to whether the statute defining “reckless
driving” was found in Neb. Rev. Stat. § 60-6,212 (Reissue
2021) or § 60-6,213, or it could suggest a mistaken reference
to the two statutes as being the statutes that defined “reckless
driving” and “willful reckless driving.” Furthermore, although
he provided other proposed written instructions, to our knowl-
edge, Cerros provided no proposed lesser-included offense
instructions, and none appear in our appellate record. See State
v. Custer, 292 Neb. 88, 871 N.W.2d 243 (2015) (stating appel-
lant’s failure to include proposed jury instruction in record on
appeal precluded appellate determination of whether tendered
instruction was correct statement of law and was warranted
by evidence).
   Because Cerros did not request a lesser-included offense
instruction on careless driving, the district court’s failure to
instruct on careless driving as a lesser-included offense can-
not be considered error. See State v. Smith, 284 Neb. 636, 822
N.W.2d 401 (2012). Therefore, the district court did not err
when it did not give a careless driving instruction that was not
requested. We reject this assignment of error.

                       CONCLUSION
   We conclude that the district court did not abuse its discre-
tion when it allowed Betzen’s testimony that driving on the
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                  312 Nebraska Reports
                        STATE V. CERROS
                        Cite as 312 Neb. 230
wrong side could be a sign of reckless driving, and the district
court did not err when it did not give a lesser-included offense
instruction on careless driving when Cerros did not request
such an instruction. We further conclude that there was suffi-
cient evidence to support Cerros’ conviction for manslaughter.
We therefore affirm Cerros’ conviction.
                                                     Affirmed.
